       Case 1:23-cv-00759-RJL Document 16-10 Filed 08/18/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 JOHN SOLOMON

                     Plaintiff,                       Case No. 1:23-cv-00759-RJL
 v.

 MERRICK GARLAND, et al.

                      Defendants.


                                  [PROPOSED] ORDER


      Upon consideration of the Plaintiff’s Partial Motion for Summary Judgment

and all responses and replies thereto, it is hereby


      ORDERED that the Plaintiff’s Motion for Partial Summary Judgment is

GRANTED; and it is further ORDERED that the Department of Justice shall

return the requested Presidential records to the National Archives, where they shall

be made available to Mr. Solomon, within fourteen days of this Order.


      SO ORDERED.


Dated: ______________


                                               _____________________________
                                               United States District Judge
